                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                   No. 5:12-CV-685-D

DWAYNE COFFER,                             )
                                           )
               Plaintiff,                  )
                                           )      RESPONSE IN OPPOSITION
      v.                                   )      TO DEFENDANT’S MOTION TO
                                           )      DISMISS COUNT TWO OF
WARREN COUNTY BOARD OF                     )      THE COMPLAINT
EDUCATION,                                 )
                                           )
               Defendant.                  )


      Plaintiff, by and through the United States Attorney for

the Eastern District of North Carolina, submits this response in

opposition          to   Defendant’s      motion       to   dismiss      Count    Two   of

Plaintiff’s complaint.             [DE-8, 9].

                                STATEMENT OF THE CASE

      Plaintiff filed this action on October 19, 2012.                             [DE-1].

Plaintiff alleges that the Defendant Board of Education violated

two     provisions        of      the    Uniformed      Services      Employment        and

Reemployment Rights Act of 1994 (USERRA), 38 U.S.C. §§ 4301-

4335,    when       it   failed    to    renew   his    contract    as    an     Assistant

Principal.           First, Plaintiff alleges that Defendant violated 38

U.S.C.     §    4311(a)     (prohibiting         discrimination       against     service

members        in    “initial      employment,      reemployment,         retention     in

employment,          promotion,     or    any    benefit     of    employment      by   an

employer” on the basis of military service) (Count One).                             [DE-1



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at 4-5].

     Second, Plaintiff alleges that Defendant’s decision not to

renew Plaintiff’s contract was in retaliation to the exercise of

his USERRA rights and violated 38 U.S.C. § 4311(b) (prohibiting

employment        discrimination      or    any        adverse     employment     action

because,     inter    alia,     an   individual         “has    taken     an   action    to

enforce a protection afforded any person under” USERRA) (Count

Two).      [DE-1     at   5].      Plaintiff          also   alleges    that   Defendant

willfully violated USERRA, thereby entitling him to liquidated

damages pursuant to 38 USC § 4323(d)(1)(C).                       [DE-1 at 5].

                                  STATEMENT OF FACTS

     With respect to the retaliation claim Defendant seeks to

dismiss, Plaintiff has alleged the following facts, which are

taken   as    true    for    purposes      of    a     motion   brought    pursuant      to

Federal      Rule    of   Civil    Procedure          12(b)(6).      Philips     v.    Pitt

County Memorial Hosp., 572 F.3d 176, 180 (4th Cir. 2009) (“In

considering such a motion [under Rule 12(b)(6)], we accept as

true as well-pleaded allegations and view the complaint in the

light most favorable to the plaintiff.”).

     Plaintiff is a Sergeant First Class in the United States

Army Reserve.        [DE-1 at 1-2, ¶ 5].              In August of 2006, Defendant

approved      a   two-year      contract        for    Plaintiff     to   serve   as     an

Assistant Principal at Warren County High School (WCHS).                              [DE-1
                                            2




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at    2,    ¶   7].       Plaintiff’s       primary    duties   as     an    Assistant

Principal concerned disciplinary matters for ninth and eleventh

grade students.         [DE-1 at 2, ¶ 9].

       In February of 2008, Joyce Long, the Principal at WCHS,

left WCHS to have back surgery.                     [DE-1 at 2, ¶ 10].              Long

appointed Coffer as Acting Principal at WCHS, and he carried out

the duties of that position.                [DE-1 at 2, ¶ 10].         Between March

3,    2008,     and   April    4,   2008,    Plaintiff,    pursuant     to    military

orders, conducted an Army leadership course in Delaware.                           [DE-1

at    2,    ¶   11].      Defendant        approved    Plaintiff’s      request      for

military leave to conduct this leadership course.                     [DE-1 at 2, ¶

12].       During Plaintiff’s absence, Carolyn Faucette was appointed

Acting Principal at WCHS.             [DE-1 at 2, ¶ 13].

       After Plaintiff completed his required military service and

after he returned to WCHS, he and Faucette disagreed as to who

should assume the duties of Acting Principal.                         [DE-1 at 3, ¶

14].       At an April 9, 2008, meeting attended by Faucette, Coffer,

and    other     school    staff,     Plaintiff      “invoked   his    rights      under

USERRA      [and]     stated   that   he    should    be   restored    to    the    same

position he had prior to leaving for military service – Acting

Principal.”         [DE-1 at 3, ¶ 15].           The Assistant Superintendent of

Warren County Schools notified Ray Spain, the Superintendent of

Warren County Schools, of this meeting.                 [DE-1 at 3, ¶ 16].
                                             3




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          On April 25, 2008, Spain informed Plaintiff that he would

not recommend that the Warren County Board of Education renew

his contract as an Assistant Principal.                    [DE-1 at 4, ¶ 22].              On

April      28,   2008,    Defendant    adopted        Spain’s     recommendation           and

voted not to renew Plaintiff’s contract.                        [DE-1 at 4, ¶ 24].

Plaintiff alleges that Spain’s “recommendation to the Board not

to    renew      Plaintiff’s     contract         –   made     within     a     month      of

Plaintiff’s       invocation     of    his       rights   under       USERRA    –    was    in

retaliation       to     Plaintiff’s   invocation         of    his    USERRA       rights.”

[DE-1 at 5, ¶ 35].

                                       ARGUMENT

     I.     Standard in      Considering         Motion   to    Dismiss        Under    Rule
            12(b)(6).

          “When ruling on a Rule 12(b)(6) motion to dismiss, ‘a judge

must accept as true all of the factual allegations contained in

the complaint.’”            E.I. du Pont de Nemours and Co. v. Kolon

Industries, Inc., 637 F.3d 435, 448 (4th Cir. 2011) (quoting

Erickson v. Pardus, 551 U.S. 89, 94 (2007)).                      Civil actions must

contain “sufficient factual matter, accepted as true, to ‘state

a claim to relief that is plausible on its face.’”                             Ashcroft v.

Iqbal, 129 S.Ct. 1937, 1949 (2009) (quoting Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 570 (2007)).

          The complaint, however, “need only give the defendant fair

                                             4




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notice      of     what     the     claim     is   and        the    grounds       upon    which   it

rests.”       Coleman v. Maryland Court of Appeals, 626 F.3d 187, 190

(4th        Cir.       2010)         (internal           quotation           marks         omitted).

Additionally,          “‘all        reasonable          inferences’         must    be     drawn   in

favor    of      the    complainant.”              E.I.       du    Pont,     637    F.3d    at    448

(quoting Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

F.3d 250, 253 (4th Cir. 2009)).

  II.       Plaintiff Has Stated a Claim Under 38 U.S.C. § 4311(b).

       In     order       to   state      a   claim       under      38     U.S.C.    §     4311(b),

Plaintiff        must       allege       that      he    was        subject    to     an     adverse

employment         action      or    employment          discrimination         because,       inter

alia, he “has taken an action to enforce a protection afforded

any person” under USERRA or “has exercised a right provided for”

under USERRA. 1           38 U.S.C. § 4311(b)(1), (b)(4).                      As Plaintiff has

alleged       and      as      this      Court      must       assume       for      purposes      of

Defendant’s         motion,         he   suffered        an    adverse      employment        action

within a month of invoking his rights under USERRA.                                   [DE-1 at 3-

4, ¶¶ 14-16, 22].

        That is, within a month of invoking USERRA as the basis for



1 “Although the term ‘retaliation’ is not used in USERRA, the
gravamen of [§ 4311(b)] is to prohibit adverse actions taken in
retaliation for the exercise of the rights provided by USERRA.”
Wallace v. City of San Diego, 479 F.3d 616, 625, n.1 (9th Cir.
2007).
                                                   5




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his return to the Acting Principal position 2 and within a month

of the superintendent of the Board of Education being informed

of this invocation, Plaintiff’s contract was not renewed.                         [DE-1

at 3-4, ¶¶ 14-16, 22].              Plaintiff also specifically alleged that

the non-renewal decision was made “in retaliation to Plaintiff’s

invocation of his USERRA rights.”                [DE-1 at 5, ¶ 35].

       Defendant’s sole argument in his motion to dismiss is that

Plaintiff “did not exercise a right provided by USERRA” because

he “had no right to reinstatement as Acting Principal[.]”                         [DE-9

at    4].      In    support   of    this   argument,     Defendant    claims     that

Plaintiff could not have served as an Acting Principal because

the Board of Education did not approve such an appointment.                         See

N.C. Gen. Stat. 115C-289(a) (2008).                 Defendant’s argument fails

for two reasons.

       First,        Defendant’s      argument     that    Plaintiff       was   never

appointed an “Acting Principal” amounts to a factual dispute

that is best resolved through the discovery process.                        Plaintiff

has    alleged       that    Principal      Long   appointed     Plaintiff       Acting

Principal upon her departure for surgery and that “he carried

out   the     duties    of    that   position”     for    approximately     a    month.

[DE-1 at 2].          Given that Plaintiff’s pled facts are to be taken

as    true     and    all    reasonable     inferences     are   to   be    given    to

2 This provision is contained at 38 U.S.C. § 4313(a)(1)(A).
                                             6




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Plaintiff       for   purposes    of     Defendant’s         Rule    12(b)(6)   motion,

Nemet       Chevrolet,    591     F.3d     at   253,      whether      Plaintiff     was

appointed an Acting Principal and the nature of that appointment

are fact issues to be resolved during discovery.

       Second, Plaintiff had an objective good faith basis when he

invoked his USERRA rights to seek reemployment.                        In invoking his

rights,       Plaintiff    took    “an     action    to      enforce     a    protection

afforded” him under USERRA.              38 U.S.C. § 4311(b)(1). 3

       In    analogous    employment       retaliation        cases,    the    plaintiff

does not have to be correct in invoking the protections of a

statute.        Instead, the plaintiff simply must have a reasonable

and objective good-faith basis for invoking the civil rights

statute.        See, e.g., Peters v. Jenney, 327 F.3d 307, 321 (4th

Cir.    2003)     (holding,     with   respect      to   a    Title    VI    retaliation

claim, that a plaintiff must “subjectively                          (that is, in good

faith)” believe that an unlawful practice has occurred and that

such a belief “was objectively reasonable in light of the facts”

(internal quotation marks and citation omitted)); Freilich v.

Upper Chesapeake Health, Inc., 313 F.3d 205, 216 (4th Cir. 2002)

3 USERRA specifically provides that, for military leave of less
than 91 days, the employee shall be promptly reemployed “in the
position of employment in which the person would have been
employed if the continuous employment of such person with the
employer had not been interrupted by such service, the duties of
which the person is qualified to perform.” 38 U.S.C. §
4313(a)(1)(A).
                                            7




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(holding, with respect to an Americans with Disabilities Act

retaliation        claim,     that    the       “complainant          must        allege      the

predicate for a reasonable, good faith belief that the behavior

she is opposing violates the ADA”).

       Similarly, as the Fourth Circuit held in Dea v. Washington

Suburban     Sanitary       Comm’n,   11    F.    App’x      352,     357-58          (4th   Cir.

2001) (unpublished), a “Title VII plaintiff bringing a claim for

retaliation need not establish that the employment practice he

opposed      in   fact    violated     Title     VII    .    .    .     .   At    a       minimum,

however, a plaintiff bringing a claim for retaliation must have

held     a   reasonable,       good    faith      belief         that       the    employment

practice he opposed was violative of Title VII.”                             (citing Bigge

v. Albertsons, 894 F.2d 1497, 1503 (11th Cir. 1990)).                                      Such a

belief “must be objectively reasonable in light of the facts and

record presented.”          Id. at 358.

       This basic rule of good faith applies in the USERRA context

as well.      See Cook v. CTC Communications Corp., 2007 WL 3284337,

at     *10   (D.N.H.      2007)    (holding,       with       respect        to       a    USERRA

retaliation claim, that, in “other employment retaliation cases,

a plaintiff need not prove an underlying violation but only that

she had a reasonable and good faith belief that a violation of

the applicable statute occurred” and that such a “rule applies

here”).       As    the   Fourth      Circuit     has       held,     the     Court        should
                                            8




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“broadly construe[]” USERRA’s provisions in favor of Plaintiff.

Hill v. Michelin North America, Inc., 252 F.3d 307, 312-13 (4th

Cir. 2001) (“Because USERRA was enacted to protect the rights of

veterans      and    members      of   the      uniformed         services,    it   must     be

broadly      construed    in      favor    of       its    military    beneficiaries.”).

Applying      the   good-faith         construction         from    other     civil   rights

retaliation statutes would ensure that service members such as

Plaintiff are both protected from substantive discrimination –

the   kind    addressed      in    Count      One     of    Plaintiff’s       claim   –     and

retaliation in response to invoking one’s rights under USERRA.

      Plaintiff’s complaint satisfies this good-faith standard.

Plaintiff     has    alleged:          that     the       Principal    appointed      him   as

Acting Principal in February of 2008 [DE-1 at 2, ¶ 10]; that he

was under military orders to conduct an Army leadership course;

[DE-1 at 2, ¶ 11]; that he went on approved military leave from

March 3, 2008 to April 4, 2008, to conduct this course [DE-1 at

2, ¶ 12]; and that, upon his return, he invoked his USERRA

rights     and      stated     that     he      should       be     re-appointed      Acting

Principal, the position he had at the time he went on military

leave.     [DE-1 at 3, ¶ 15].                Based on these factual allegations

and USERRA’s reemployment provisions, see 38 U.S.C. §§ 4312(a),

4313(a)(1)(A), Plaintiff had an objective and reasonable good-

faith basis to invoke USERRA.                   Plaintiff also alleged that the
                                                9




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adverse employment action (the failure to renew his contract)

“was in retaliation to” the invocation of his USERRA rights.

[DE-1 at 5, ¶ 35].              As a result, Defendant’s motion to dismiss

fails.

      Defendant’s citation to Bunting v. Town of Ocean City, 409

F.   App’x    693,     696      (4th   Cir.     2011)       (unpublished),            does       not

support    its      claim.       [DE-9    at    7-8].            Although      the    Court       in

Bunting stated that the “initial inquiry in a USERRA retaliation

claim is whether the employee exercised his rights under the

USERRA, thereby placing him within the ambit of § 4311(b),” it

did not address in detail what kind of specific behavior might

trigger      USERRA       retaliation        protection.              Id.       Indeed,          the

language     from     Bunting      suggests         that        a    plaintiff       only       must

exercise his rights – not correctly determine whether his rights

actually apply.

      Notably,       in    Bunting,      the    Court       of      Appeals    affirmed          the

grant of summary judgment on the non-retaliation USERRA claim

but reversed as to the retaliation claim.                               Id.     Although the

Court    agreed      that      there   was     insufficient           evidence       of     direct

discrimination,           it    held   that         the    retaliation          claim          could

proceed.      Id.     Thus, even though plaintiff alleged an ultimately

unsuccessful        USERRA       complaint      to        her       employer    and       to    the

Department of Labor, such allegations were sufficient to support
                                               10




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a USERRA retaliation claim.           Id.

      Indeed, the Fourth Circuit’s ruling in Francis v. Booz,

Allen   &   Hamilton,    Inc.,    452     F.3d    299    (4th    Cir.    2006),   cuts

against Defendant’s arguments.              In Francis, the USERRA plaintiff

alleged a retaliation claim based on her challenge of conduct

that she thought violated USERRA.                 Even after concluding that

the   defendant’s      conduct    did    not     violate      other   provisions     of

USERRA, id. at 302-09, the Fourth Circuit appeared to assume 4

that plaintiff “exercise[d] her USERRA rights” for retaliation

purposes    by    informing     defendant      “that     she    believed   that     her

USERRA rights were being violated.”               Id. at 309.

      Thus,     even   though    plaintiff       was    ultimately      incorrect    in

believing that her USERRA rights were violated, the Court of

Appeals     assumed     that    she     exercised       her    USERRA    rights     for

purposes of a retaliation claim.               Id.      The Court then addressed

and affirmed the dismissal 5 of the retaliation claim on another

ground.       Id. 6    As a result, the Court declined to adopt the



4 The Fourth Circuit panel did not expressly discuss whether
plaintiff exercised her USERRA rights. Instead, it noted what
plaintiff alleged to her employer, referred to the “exercise of
[plaintiff’s] USERRA rights,” and focused on other aspects of a
USERRA retaliation claim.
5 The district court in Francis granted summary judgment in
favor of defendant.
6 The Fourth Circuit held that the “actions which led to
[plaintiff’s] probation and termination began before her
                                11




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approach Defendant is advocating in its motion to dismiss.

     The    Court    should    also      disregard       Plaintiff’s       citation     to

Gordon v. Wawa, 388 F.3d 78 (3d Cir. 2004).                       [DE-9 at 7-8].        In

addition to the fact that Gordon does not bind this Court, its

holding     does    not    directly           address     whether     Plaintiff       has

adequately stated a retaliation claim in this case.                         In Gordon,

the Third Circuit provided several reasons for affirming the

district    court’s     dismissal        of    plaintiff’s        retaliation       claim,

including that plaintiff did not allege that he attempted to

assert any kind of right.                Id. at 84.          Although the Court of

Appeals held that a rest period was not a right provided under

USERRA,    it    only   did   so    in    addressing        one    part    of    USERRA’s

retaliation      provision.         Id.        (quoting      38   U.S.C.    4311(b)(4)

(allowing       retaliation     protection         for      “exercis[ing]       a    right

provided for” under USERRA)).

     Importantly, the Gordon court did not address the contours

of what it means for an employee to take “an action to enforce a

protection      afforded      any   person         under”    USERRA.        38      U.S.C.

§ 4311(b).       The protection that Plaintiff sought to protect in

this case – reemployment rights – is expressly provided under 38

U.S.C.     §§ 4312-13.         Given      the      objective       good-faith        basis

protected activity, belying the conclusion that a reasonable
factfinder might find that [defendant’s] activity was motivated
by [plaintiff’s] USERRA complaints.” Francis, 452 F.3d at 309.
                                              12




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Plaintiff     had   in   invoking     such   a    right,    he     has   stated   a

retaliation     claim.      As    a    result,     the     Court    should    deny

Defendant’s motion to dismiss Count Two of this action.

                                  CONCLUSION

     For    these   reasons,     Plaintiff       respectfully      requests   that

this Court deny Defendant’s motion to dismiss.

     Respectfully submitted, this 9th day of January, 2013.

                                      THOMAS G. WALKER
                                      United States Attorney


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                       CERTIFICATE OF SERVICE

     I do hereby certify that on this 9th day of January, 2013,

I have served a copy of the foregoing on the below listed

parties by electronically filing the foregoing with the Clerk of

Court using the CM/ECF system:


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